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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

CHRISTIAN BALDERAS,                           )
                                              )
                Plaintiff,                    )
                                              )
vs.                                           )      Case No.: 2:17-cv-00270
                                              )
TARGET CORPORATION                            )
                                              )
                Defendant.                    )

                                       REPORT OF MEDIATOR

         This serves to report that the parties attended mediation on November 5, 2019, by counsel and

in person, and that the matter is resolved. The parties to file appropriate dismissal documents with the

Court.

                                                  Respectfully submitted,
                                                   /s/ David A. Wilson____________
                                                  David A. Wilson (#19629-64)
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                                                  (219) 661-7503
                                                  David@DAWilsonLaw.com

                                     CERTIFICATE OF SERVICE

       I hereby certify that on November 5, 2019 I filed the foregoing pleading with the Clerk of the
Court, and that all parties will be served via the CM/ECF system.

                                                  /s/ David A. Wilson
